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                  EXHIBIT E
       Case 3:18-cv-01586-JSC Document 647-11 Filed 01/08/21 Page 2 of 25
IN RE PACIFIC FERTILITY v.                                                                       ANAND KASBEKAR, Ph.D.
CENTER LITIGATION                                                                                       December 15, 2020
                                                     Page 2                                                              Page 4
 1              IN THE UNITED STATES DISTRICT COURT          1                         A P P E A R A N C E S
                                                                                        (Via videoconference)
 2               NORTHERN DISTRICT OF CALIFORNIA             2
 3                    SAN FRANCISCO DIVISION                 3       FOR THE PLAINTIFF AND INTERIM CLASS COUNSEL:
 4                            ---o0o---                      4                     GIBBS LAW GROUP LLP
                                                                                   BY: AMY M. ZEMAN, ESQ.
 5                                                           5                     505 14th Street, Suite 1110
                                                                                   Oakland, California 94612
 6    IN RE PACIFIC FERTILITY                                6                     (510) 350-9700
      CENTER LITIGATION.              No. 3:18-cv-01586-JSC                        amz@classlawgroup.com
 7    ____________________________/                          7
                                                                     FOR THE DEFENDANT CHART:
 8                                                           8
                                                                                    SWANSON, MARTIN & BELL, LLP
 9                                                           9                      BY: JOHN J. DUFFY, ESQ.
                                                                                    330 N. Wabash, Suite 3300
10                                                          10                      Chicago, Illinois 60611
                                                                                    (312) 321-9100
11                                                          11                      jduffy@smbtrials.com
12                                                          12
13                                                          13
                                                                     Also Present:         Philip Knowles, Videographer
14                                                          14
                                                                                                ---o0o---
15              VIDEOTAPED DEPOSITION of ANAND KASBEKAR, 15
16   Ph.D., taken on behalf of Defendant, via Zoom          16
17   videoconference, beginning at 10:04 a.m., December 15, 17
18   2020, before CONNIE MARTIN DUNNE, RPR, Certified 18
19   Shorthand Reporter No. 6245.                           19
20                                                          20
21                                                          21
22                                                          22
23                                                          23
24                                                          24
25                                                          25

                                                     Page 3                                                              Page 5
 1                           I N D E X
                                                                 1                 PROCEEDINGS
 2   EXAMINATION BY                                      PAGE
                                                                 2               December 15, 2020
 3          MR. DUFFY ................................      6
                                                                 3                  ---o0o---
 4
                             ---o0o---                           4          THE VIDEOGRAPHER: Good morning. My name is
 5
                                                                 5   Philip Knowles, and I'm your host and videographer
 6                                                               6   associated with Barkley Court Reporters, located at 201
                          E X H I B I T S
 7                                                               7   California Street, Suite 375, in San Francisco,
     DEFENDANT'S         DESCRIPTION                     PAGE
 8                                                               8   California 94111.
     223     Failure Analysis of Chart MVE 808AF-GB ..      6
 9              Cryopreservation Tank, Pacific                   9          The date today is Tuesday, December 15th,
                Fertility Center Litigation, rebuttal
10              report (20 pages)                               10   2020, and the time is approximately 10:04 a.m., Pacific
11                                                              11   Standard Time, a.m.
                             ---o0o---
12                                                              12          This deposition is taking place remotely via
13                                                              13   Zoom in the matter of The Pacific Fertility Center
14                                                              14   Litigation, with Case Number 3:18-cv-01586-JSC.
15                                                              15          This is the videotaped deposition of Dr. Anand
16                                                              16   Kasbekar, GB taken on behalf of Chart's counsel.
17                                                              17          Will counsels for the parties please voice --
18                                                              18   can't speak right now. I'm sorry. Will counsel for the
19                                                              19   parties please voice identify themselves now?
20                                                              20          MS. ZEMAN: Amy Zeman on behalf of the
21                                                              21   plaintiff.
22                                                              22          MR. DUFFY: John Duffy on behalf of Chart.
23                                                              23          THE VIDEOGRAPHER: Thank you, counsel.
24                                                              24          The court reporter may now swear in the
25                                                              25   witness, and we can proceed.


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 1         BE IT REMEMBERED that set on Tuesday,                          1   them. We were using their products, and they were
 2   December 15, 2020, commencing at the hour of 10:04 a.m.,             2   supporting us with regard to our defense contracts, and
 3   taken remotely before me, CONNIE MARTIN DUNNE, RPR, CSR              3   I just had a longstanding relationship with them.
 4   No. 6245, a Certified Shorthand Reporter, remotely                   4     Q. Did -- who specifically did you work with at
 5   appeared                                                             5   Altair?
 6            ANAND KASBEKAR, M.D.,                                       6     A. I worked with a individual by the name of
 7   having been called as a witness by the Defendant, who                7   Noreen Gilbertsen.
 8   having been sworn or affirmed by me to tell the truth,               8     Q. And did you provide the inputs for
 9   the whole truth and nothing but the truth, was thereupon             9   Ms. Gilbertsen to do the FEA?
10   examined and testified as hereinafter set forth:                    10     A. I did.
11                 ---o0o---                                             11     Q. Did anyone help you with that?
12                                                                       12     A. No. It was primarily me and Ms. Gilbertsen
13                     (DEFENDANT'S EXHIBIT 223 WAS                      13   working on it.
14                     MARKED FOR IDENTIFICATION.)                       14     Q. I guess my question was a little different.
15                EXAMINATION                                            15          For the inputs that you gave to
16   BY MR. DUFFY:                                                       16   Ms. Gilbertsen, did you alone decide the inputs?
17      Q. Good morning, Dr. Kasbekar. Nice to see you                   17     A. Yes. I mean, absolutely. I didn't work with
18    again.                                                             18   anybody else on that.
19      A. Same, Mr. Duffy.                                              19     Q. Okay. And what is Ms. Gilbertson's education?
20      Q. I have gone ahead and marked as Exhibit 223 a                 20   Do you know?
21    copy of your rebuttal report, and we put that in the               21     A. She has a bachelor's and master's in
22    chat feature, and do you have that open in front of you            22   engineering and a Ph.D. in structural mechanics and
23    for reference?                                                     23   30 years of experience working in the area of finite
24      A. I do.                                                         24   element analysis.
25      Q. As part of the work for your rebuttal, you did                25     Q. Does Ms. Gilbertsen have any training in


                                                                Page 7                                                              Page 9

 1    a finite element analysis; is that right?                           1   cryogenic engineering?
 2      A. That's correct.                                                2      A. I don't believe so.
 3      Q. At the time of your last deposition, you did                   3      Q. During your last deposition, I believe you
 4    not have a license for the software that would allow you            4   told me that you stopped doing FEAs around the time you
 5    to run a finite element analysis; correct?                          5   stopped doing work for the Department of Defense; is
 6      A. That's correct.                                                6   that -- is that about right?
 7      Q. Did you acquire a license so that you could                    7      A. I -- I don't know exactly what I said, but
 8    run that analysis?                                                  8   it's something -- we didn't -- I stopped maintaining our
 9      A. No, I did not. I worked with Altair Computing                  9   software licenses because we had some pretty large
10    to run the analysis.                                               10   domineer -- our complex domineer software code licenses
11      Q. And if you would tell me who Altair Computing                 11   and meshing licenses sometime shortly after we completed
12    is, I would appreciate it.                                         12   all of our work for the Department of Defense, and then
13      A. Altair Computing is a company based out of                    13   I began utilizing Altair essentially on forensic
14    Detroit, Michigan, and they have a soft- -- several                14   projects where I needed FEA work done.
15    software packages. Back when I was working with --                 15      Q. When's the last time you worked with Altair to
16    Hyper Mesh was a big package that -- that I was                    16   do an FEA project for a case?
17    personally using from them.                                        17      A. Oh. I would say probably three or so years
18           But they're a company that specializes in                   18   ago.
19    finite element analysis and finite element meshing                 19      Q. Right. What -- what did that case involve?
20    technology.                                                        20      A. We were working on a case involving an
21      Q. And how -- how did you come to partner with                   21   aircraft tow bar that had failed and released a aircraft
22    that company to do the FEA work?                                   22   owned by the Heinz family that then rolled into a King
23      A. I have a longstanding relationship with them.                 23   Air aircraft, and there was a fracture of the tow bar
24    When I was doing contracts for the Department of                   24   that we evaluated, and we evaluated the stresses on it
25    Defense, we had a cooperative research agreement with              25   using finite element analysis.


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 1     Q. So the product at issue in that case was a tow
 2   bar for aircraft?
 3     A. Exactly.
 4     Q. When I looked at your curriculum vitae from
 5   your first report, I saw that the last major research
 6   project you have for the Department of Defense, as
 7   listed at least in your CV, was in 2003. That sound
 8   about right?
 9     A. That was probably the last publication
10   associated with it, but, no, that wasn't the end of it.
11          (Reporter requesting clarification.)
12          (Discussion off the record.)
13          THE WITNESS: That was not the end of our
14   work.
15   BY MR. DUFFY:
16     Q. Would you provide me with your best estimate
17   as to when you stopped doing work for the Department of
18   Defense?
19     A. I would say sometime in the neighborhood of
20   2010.
21     Q. And was that -- thank you.
22          Would that be about the last time you                    22          There's a difference of opinion there.
23   maintained a software license for a finite element              23     Q. Let me -- let me ask you this: Did -- there
24   analysis program?                                               24   is evidence in this case that liquid nitrogen levels
25     A. No. That, I don't know the answer to. I                    25   were required at PFC to be kept at 11 inches; correct?


                                                           Page 11                                                                 Page 13

 1   don't know when our license expired.                             1     A. Yeah, I'm sure there was.
 2         I just made the -- at some point, I made the               2     Q. And you've reviewed the data download that
 3   decision not to continue to maintain -- we own -- so let         3   came from Tank 4; correct?
 4   me -- let me explain that to you Mr. Duffy.                      4     A. Some time ago but yes.
 5     Q. Okay.                                                       5     Q. And the data download shows that liquid levels
 6     A. We own two licenses of the software, so we --               6   were maintained above 11 inches; does it not?
 7   we actually physically own them. They're ours. We                7     A. Well, I believe actually that Chart's former
 8   bought them in perpetuity.                                       8   attorney had questioned me about that, and there were
 9         The issue is that if you want to continue to               9   times where that level may have decreased below that
10   maintain and -- and receive improvements of the                 10   11 inches.
11   software, you have to continue to pay maintenance fees          11     Q. Sure. Those were for dates in 2013 and 2014?
12   that are on the order of, you know, tens of thousands of        12   Is that something you recall?
13   dollars a year for the particular software packages that        13     A. I don't recall the specific dates; I just
14   we own.                                                         14   recall the occurrences.
15         So I made a decision at some point that it was            15     Q. Well, other than those dates, the data
16   not worth paying $20,000, or however much it was back           16   download shows that the liquid nitrogen levels exceeded
17   then, to -- to maintain those licenses.                         17   11 inches; correct?
18     Q. Do the material properties of metal's thermal              18     A. I think, in general, that's fair to the best
19   conductivity and thermal expansion coefficient depend on        19   of my recollection.
20   the temperature of the metal?                                   20
21     A. They can.
22




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                                                25   Q. Would you agree with me that the FEA run by


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 1   Mr. Parrington and Dr. Miller is more accurate?                    1   the entire issue.
 2     A. No. I think it's wrong.                                       2     Q. And then all of the other days of the six
 3     Q. Why do you think it's wrong?                                  3   years of the operation of this freezer, it's above 11
 4     A. I don't think they're looking at the                          4   inches; correct?
 5   contraction correctly.                                             5     A. It may very well be.
 6     Q. Why?                                                          6
 7     A. Because I think they're relying upon Miller's
 8   analysis of what a thermal cycling would be and what the
 9   contraction would be from that.
10     Q. And the thermal cycling in -- in -- in what
11   specific way?
12     A. I -- I think Miller's number for contraction
13   is too small, and --
14     Q. Why is that?
15     A. Because I don't agree with his assumptions
16   about what the magnitude of the contraction is.
17     Q. I know that, but why?
18     A. Why? Because he's assuming that there's
19   11 inches of nitrogen in there and the first 11 inches
20   of the fill tube and everything below it are contracting
21   from that condition, and I don't agree with it.
22     Q. Well, there's data on this. It's knowable;
23   isn't that correct?
24     A. I'm -- I'm sorry. Now, I don't understand
25   what you mean, "There's data on this, It's knowable."


                                                              Page 27

 1      Q. Well, there's a -- there's a data recorder on
 2   the MVE 808; isn't that correct?
 3      A. Yes, there is.
 4      Q. Okay. And in there, it -- it maintains a
 5   measurement, a level; correct?
 6      A. Correct.
 7      Q. And other than those instances in January of
 8   2014 and December of 2013, the LN2 levels exceed
 9   11 inches; correct?
10      A. Oh. Except for when the tank is manufactured.
11      Q. That's --
12      A. That's one; and then it's delivered and it's
13   filled. That's two; and then you have another two
14   inches, so that's four --
15      Q. Okay.
16      A. -- and then the -- I think the -- the bigger
17   point is, again, that tank is manufactured at or above
18   room temperature.
19      Q. I understand that, but we're talking about the
20   cycles in which liquid nitrogen is filled inside the
21   tube so we can evaluate your theory; correct?
22      A. Correct.
23      Q. Well, we got four days in which you can say
24   it's below 11 inches; is that fair?
25      A. At -- at least four days, but I -- that's not


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                                                                           1      Q. Well, okay. But do you agree that the fill
                                                                           2   pipe as it comes into the door and where that weld is,
                                                                           3   that's a liquid nitrogen temperature; correct?
                                                                           4      A. Only after it's been filled with liquid
                                                                           5   nitrogen.
                                                                           6      Q. Is -- is it -- was it your assumption that
                                                                           7   that fill tube completely emptied of liquid nitrogen
                                                                           8   after every fill?
                                                                           9      A. No.
                                                                          10      Q. Okay. So there's some liquid nitrogen in the
                                                                          11   fill tube; correct?
                                                                          12      A. I think the liquid nitrogen in the fill tube
                                                                          13   will be the height of the liquid nitrogen in the tank.
                                                                          14           I'm not disagreeing with that at all.
                                                                          15      Q. If there's liquid nitrogen in the fill tube
                                                                          16   and -- and -- and it's up to the level let's say of 11
                                                                          17   inches -- okay? You understand that?
                                                                          18      A. I understand.
                                                                          19      Q. And your calculation says the entire fill tube
                                                                          20   goes from room temperature to LN2 temperature; correct?
                                                                          21      A. It does at some point, correct.
                                                                          22      Q. But if there's liquid nitrogen in the fill
                                                                          23   tube up to 11 inches, then that part of the fill tube is
                                                                          24   going to be at LN2 temperature; correct?
                                                                          25      A. I don't disagree with that.


                                                                Page 31                                                              Page 33

 1   for 304.                                                              1     Q. You used a strain-based approach, is that
 2          Did you review the data download to help do                    2   right, for your FEA?
 3   the inputs for the FEA?                                               3     A. We use a temperature change to induce the
 4      A. From the controller?                                            4   loading in the FEA, not a calculated strain.
 5      Q. Yes.                                                            5     Q. Explain that to me.
 6      A. No. I don't think -- that's not particularly                    6     A. Well, the -- the driving force for, you know,
 7   relevant to me, in my opinion.                                        7   the -- for loading up our FEA is, basically, telling the
 8      Q. Help me -- help me understand why it is that                    8   FEA that that tube and fitting go from one temperature
 9   the initial fill cycle is important to your FEA analysis              9   to another temperature, in contrast to the ESI FEA
10   and that its operation for the next six years is not?                10   taking the number that Dr. Miller calculated and
11      A. It's not so much --                                            11   inputting that as a driving force.
12          MS. ZEMAN: Objection. Asked and answered.                     12     Q. Okay. What would happen to the stress
13          THE WITNESS: It's not so much the initial                     13   concentrator at the weld root when a cyclic load is
14   fill cycle as, again, it's the way that this is                      14   applied that is greater than the material yield strength
15   manufactured.                                                        15   but high enough for monotonic ductile overload.
16   BY MR. DUFFY:                                                        16          (Reporter requesting clarification.)
17      Q. Because it's welded?                                           17          (Discussion off the record.)
18      A. Well, because it's manufactured at room                        18          THE WITNESS: Can I get the court reporter or
19   temperature and then cooled to liquid nitrogen                       19   you to read back the question?
20   temperature.                                                         20   BY MR. DUFFY:
21      Q. Did you consider the weld's performance during                 21
22   the six years it was in operation at PFC?
23      A. I -- I mean, I'm not sure what you mean, did I
24   consider the weld's performance. At -- at some point,
25   it was failing.


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                                                                           1     Q. Okay. Is it an opinion that you hold that
                                                                           2   there was a rapid depletion of liquid nitrogen out of
                                                                           3   Tank 4?
                                                                           4     A. I think there was a depletion that was more
                                                                           5   rapid than the normal net evaporation rate for nitrogen
                                                                           6   in Tank 4.
                                                                           7     Q. What -- how fast do you think the LN2
                                                                           8   evaporated?
                                                                           9     A. I -- you know, all -- all I know to tell you
                                                                          10   is that between the time that it was filled and reported
                                                                          11   to be at a level of about 14 inches and the time that
                                                                          12   the tank was open and reported to be at a level of, at
                                                                          13   most, one inch, that that additional 13-plus inches went
14     Q. What paper are you relying on for this design?                  14   somewhere.
15     A. The same paper we were talking about earlier                    15          That's all -- that's all I know about the
16   that shows a very similar design but with more of a --               16   depletion rate.
17   instead of those two tubes -- I'm going to use my                    17     Q. So if we take the boundaries of that testimony
18   fingers again because I don't have two pens, or maybe I              18   and have the measurement of 14 inches GB made at 2:30 on
19   do.                                                                  19   Saturday, the 2nd --
20         Instead of those two tubes GB like that in our                 20     A. Uh-huh.
21   simplified beam model, they are more like this.                      21     Q. -- and Dr. Conaghan opening the lid at about
22     Q. What -- what paper is that again?                               22   12:20 on Sunday, March 4, it's about 22 hours?
23     A. It's -- it's the one that we were talking                       23     A. That is correct.
24   about on thermal contraction and cryogenic vessels.                  24
25     Q. Is that in Footnote -- it's on page 5


                                                                Page 43

 1   originally?
 2     A. I think we were looking at page 7, too. Yeah,
 3   Footnote Number 30.
 4     Q. Okay. Are you -- are you critical of
 5   Mr. Parrington and Dr. Miller for not providing an
 6   explanation for the rapid depletion of liquid nitrogen?
 7     A. I -- I don't know that Mr. Parrington even got
 8   into that. I do think -- and I'm not sure if I'm
 9   answering the right question, but I do think in
10   Mr. Miller's -- or Dr. Miller's work, that the fact that
11   he ran one experiment and it didn't agree with what
12   the -- Prelude or PFC clinical staff said, I am critical
13   of that. I don't think he reaches a conclusion in a --
14   in a logical manner that he reaches.
15     Q. Let me -- let me ask the question again                         15     Q. Okay. And it was, in a 22-hour period, a
16   because I think you may have answered --                             16   combination of liquid nitrogen and liquid nitrogen gas
17     A. Sure.                                                           17   poured into the vacuum space; correct?
18     Q. -- a question I didn't ask.                                     18     A. Again, I'm -- I'm not going to agree to the
19           Are you critical of Mr. Parrington and                       19   use of the word "poured" --
20   Dr. Miller for not providing a reasonable explanation                20     Q. Okay.
21   about the rapid depletion of liquid nitrogen?                        21     A. -- but if you want to change that to
22     A. I'm not necessarily critical of them for that.                  22   "migrated" I -- I will give you that.
23   I -- I -- I guess I don't understand completely the                  23     Q. Okay. So you believe that the liquid nitrogen
24   question. I don't know that -- I -- I just -- I -- I'm               24   migrated into the vacuum space in a 22-hour period;
25   not critical of them in particular for that, no.                     25   correct?


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 1     A. I believe that there was a combination of boil               1   boil off at a more rapid than normal rate because of
 2   off and nitrogen migration into the vacuum space over             2   loss of vacuum, and that in part nitrogen gas made it
 3   that period; it's -- it's a logical explanation, given            3   into the vacuum space and perhaps some liquid nitrogen
 4   the testimony and what happened to the tank. And I,               4   made it into the vacuum space --
 5   quite frankly, believe that Dr. Miller's testing, which           5     Q. Okay.
 6   does not involve any sort of a breach on the inside of            6     A. -- but I don't know at what rate and the exact
 7   the tank GB simulated, helps to confirm that.                     7   quantity of boil off versus migration into the vacuum
 8          MS. ZEMAN: Connie, I have an objection, and                8   space.
 9   could you make sure that that gets in there? It was               9     Q. And in Dr. Miller's testing that he performed,
10   "misstates testimony."                                           10   he spoiled the entire vacuum; correct?
11   BY MR. DUFFY:                                                    11     A. That's correct.
12     Q. Okay. So let me make sure I -- I understand                 12     Q. So that would cause a rapid depletion of the
13   this, Dr. Kasbekar.                                              13   vacuum seal itself; correct?
14          It is your opinion that the liquid nitrogen               14     A. That's correct.
15   inside the dual (phonetic) migrated into the vacuum              15     Q. And you saw the photographs he took, as well?
16   space in a 22-hour period? Is that fair to state?                16     A. Photographs of what?
17     A. Again, that's not what I said; I said that I                17     Q. Of the exemplar freezer.
18   believe that nitrogen, either in gas and/or liquid form,         18     A. Yes.
19   in part entered into the vacuum space. There's also              19     Q. And you saw the ball of ice near the lid?
20   boil off going.                                                  20     A. I did.
21          So you got two things going on. You've got                21     Q. And then the condensation on the exterior
22   evaporation at a higher-than-normal rate, and you've             22   of -- of the exemplar; right?
23   got, in my opinion, a breach of some size between the            23     A. I did.
24   inner tank and the vacuum space.                                 24     Q. And water collected on the floor; correct?
25     Q. So the 22 inches that it migrates, it migrates              25     A. Correct.


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 1   in two fashions: One through the crack, and one through           1      Q. And there's been no testimony in this case
 2   boil off; correct?                                                2   that Tank 4 had any ice near the lid; correct?
 3     A. The -- 22 inches?                                            3      A. That's correct.
 4     Q. I'm sorry. The -- let me restate the -- the                  4      Q. And there's no testimony in this case that the
 5   question.                                                         5   exterior skin of Tank 4 had condensation on it; correct?
 6          You believe the 22 inches of liquid nitrogen               6      A. I -- nothing other than near the bottom is my
 7   migrated into the vacuum space as gas or liquid or both           7   recollection of the testimony.
 8   and also boiled off during that period of time; correct?          8      Q. Correct. So but unlike -- if you contrast it
 9     A. Well, Mr. Duffy, I don't believe there were                  9   with Dr. Miller's testing, that condensation goes from
10   22 inches of liquid nitrogen in the tank.                        10   the top all the way to the bottom; correct?
11     Q. Sorry. There was 14 inches of liquid nitrogen               11      A. It -- I -- I would agree that Dr. Miller's
12   is what you assumed; correct?                                    12   testing was not consistent with what the lab personnel
13     A. That's not what I assumed; that's -- that's                 13   reported.
14   what Jean Popwell reported that she --                           14      Q. If Jean Popwell didn't actually measure on
15     Q. You have to assume that's accurate; right?                  15   Saturday, the 3rd, how would that impact your opinions?
16     A. I'm assuming that's reasonably accurate.                    16      A. If -- if the tank was not filled at that
17   Whether it was 13.8 or 14.2, I don't know, but I assume          17   point?
18   that it's -- I have no reason to believe that she's not          18      Q. Correct.
19   GB truthful.                                                     19      A. Then I would think that -- we have no idea,
20     Q. Okay. And you believe that that amount of                   20   anyone, of knowing what the fill level may have been on
21   liquid nitrogen migrated into the vacuum space, in part;         21   that date.
22   correct?                                                         22      Q. What if she didn't measure on Friday, the 1st?
23     A. I absolutely don't believe that that amount                 23   How would that impact your opinions?
24   migrated into the vacuum space.                                  24      A. Again, I mean, I -- my opinion would be that
25          I -- I believe the nitrogen depleted due to               25   if she's not measuring and doing her job, then that's a


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 1   contributing factor to loss of liquid nitrogen.                 1   into his testing, ice was forming near the top of the
 2          I just don't see any evidence of that.                   2   lid; correct?
 3          MS. ZEMAN: John, we've been going about an               3     A. I don't remember the exact time period, but
 4   hour. Can we take a five- or ten-minute break in the            4   I -- I thought it was within three hours or something
 5   near future?                                                    5   along those lines.
 6          MR. DUFFY: Yes.                                          6     Q. And then when he came in the next morning,
 7          MS. ZEMAN: You want to do that now?                      7   there was still ice, even more of it than when he left.
 8          MR. DUFFY: Thank you. Sure. That's great.                8   Look at the comparison of those photographs.
 9          THE VIDEOGRAPHER: We are going off the record            9     A. I -- I recall that.
10   at 11:06 a.m., Pacific Standard Time.                          10
11          (Recess taken.)
12          THE VIDEOGRAPHER: We are now going back on
13   the record. The time is 11:15 a.m., Pacific Standard
14   Time.
15   BY MR. DUFFY:
16     Q. Dr. Kasbekar, I was asking you before we took
17   a break about some of the testing that Dr. Miller did,
18   and I'd like to ask you some more questions about that.
19     A. Sure.
20     Q. In -- in your theory, we assume Jean Popwell
21   measured -- actually measured on Saturday, the 3rd, and
22   got a 14-inch measure; correct?
23     A. That's correct.
24     Q. And by mid day on Sunday, the 4th,
25   Dr. Conaghan observed only ice at the bottom of -- of


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 1   the freezer and gets a manual measurement of about one
 2   inch; is that right?
 3     A. I -- I don't recall him saying he observed
 4   only ice, but I do recall that he got somewhere around a
 5   inch or less.
 6     Q. Okay. And that 13 inches of liquid nitrogen
 7   went somewhere between about 2:30 on Saturday and about
 8   12:20 on Sunday; fair?
 9     A. I would agree with that.
10     Q. And Dr. Miller ended up spoiling the vacuum
11   completely in his test; correct?
12     A. That's my understanding. He put one
13   atmosphere pressure in there.
14     Q. And the vacuum seal would lose all its vacuum
15   properties; correct?
16     A. That's correct.
17     Q. It would no longer be able to keep cryogenic
18   temperatures; correct?
19     A. Well, I don't -- wouldn't say "would no longer
20   be able to." I mean, you've got liquid nitrogen in
21   there that's keeping things cold, but, certainly, you've
22   lost your effective vacuum insulation.
23     Q. And that will cause LN2 to boil off; correct?
24     A. At a more rapid rate, yes.
25     Q. And when Dr. Miller was even an hour or two


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 1                                                                       1   evidence that she would have grossly underfilled it. So
                                                                         2   it's not an assumption on my part; I'm relying upon her
                                                                         3   testimony.
                                                                         4      Q. And there's no evidence that she grossly
                                                                         5   underfilled; correct?
                                                                         6      A. I -- I don't see any evidence of that, and I
                                                                         7   don't think that Dr. Miller's testing proves that.
                                                                         8      Q. Okay. But -- but you haven't seen any
                                                                         9   evidence of her grossly underfilling Tank 4 on Saturday;
                                                                        10   correct?
                                                                        11      A. I am not aware of it.
                                                                        12      Q. Have you looked in your work on this case at
                                                                        13   the reflections data that was produced by PFC and then
                                                                        14   the metadata that was produced?
                                                                        15      A. Very, very quickly. Not "very quickly," but,
                                                                        16   you know, some time ago I -- I went through that but not
                                                                        17   in great detail.
                                                                        18      Q. And -- and that didn't give you any cause to
                                                                        19   question whether the lab personnel were manually
                                                                        20   measuring?
                                                                        21      A. Again, I -- I understand there's some
                                                                        22   discrepancies and some things are logged after the time
                                                                        23   that they were done, but, again, I'm not -- I don't
                                                                        24   think part of my role is to determine whether lab
                                                                        25   personnel are telling the truth or not.


                                                                                                                                 Page 57

                                                                         1           I'm -- I'm trying to evaluate objectively, and
                                                                         2   I think in my rebuttal report my comment was that I find
                                                                         3   it difficult to see how -- if somebody was, in fact,
                                                                         4   filling this tank, they would only fill it to a level
                                                                         5   that would leave two to three inches or more of the
                                                                         6   contents exposed. That doesn't make sense to me.
                                                                         7           I really think that's for a jury to determine,
                                                                         8   whether or not they want to believe Dr. Miller or -- or
                                                                         9   Jean Popwell.
                                                                        10           I'm just saying that one explanation for the
                                                                        11   difference between those two might be the fact that
                                                                        12   Miller is not accounting for a potential breach inside
                                                                        13   the tank in his testing.
                                                                        14           MR. DUFFY: Let me check my notes. I might be
                                                                        15   done.
                                                                        16           (Counsel reviews notes.)
                                                                        17           MR. DUFFY: That's all I have. Thank you for
                                                                        18   your time.
                                                                        19           THE WITNESS: Thank you, Mr. Duffy.
20     Q. Let me --                                                     20           MR. DUFFY: Any follow up?
21     A. I mean, there could be some other variables,                  21           THE WITNESS: Do you have any questions for
22   too. Maybe Popwell filled it to 13.5 and -- and logged             22   me?
23   14. I -- I don't know that.                                        23           MS. ZEMAN: No questions.
24         I just find it hard to believe that -- let                   24           THE REPORTER: Could I get your transcript
25   me -- it's not a matter of believing; there's just no              25   request on the record, please?


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 1             MR. DUFFY:   Sure.   We'd like a rough and an  1     30(f)(1)).
 2   expedited, if we could.                                  2              Before completion of the deposition, review of
 3             MS. ZEMAN: I'd like an expedited, if we could  3     the transcript [xx] was [     ] was not requested.   If
 4   get that within the next two days.                       4     requested, any changes made by the deponent (and
 5                THE REPORTER: Sure.                         5     provided to the reporter) during the period allowed, are
 6                The same, Mr. Duffy?                        6     appended hereto.      (Fed. R. Civ. P. 38(e)).
 7               MR. DUFFY: Yeah, that would be great.        7
 8              THE VIDEOGRAPHER: This now ends the remote    8
 9   deposition through Zoom. We are going off the record at  9     Dated: December 16, 2020
10   11:26 a.m., Pacific Standard Time.                      10
11               Thank you, counsel, and thank you to our 11
12   witness.                                                12
13                (Deposition concluded at 11:26 a.m.)       13
14                             ---o0o---                     14                               _____________________________
                                                                                                 CONNIE MARTIN DUNNE, RPR
15                                                           15                                   CSR No. 6245
16                  I have read the foregoing deposition 16
17    transcript and by signing hereafter, subject to 17
18     any changes I have made, approve same.                18
19                                                           19
20     Dated_____________________.                           20
21                                                           21
22                                                           22
23                          _______________________________  23
                                   (Signature of Deponent)
24                                                           24
25                                                           25

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 1                  DEPOSITION OFFICER'S CERTIFICATE
 2    STATE OF CALIFORNIA           )
                                    )   ss.
 3    COUNTY OF CONTRA COSTA        )
 4
 5
 6               I, Connie Martin Dunne, hereby certify:
 7               I am a duly qualified Certified Shorthand
 8    Reporter in the State of California, holder of
 9    Certificate Number CSR 6245 issued by the Court
10   Reporters Board of California and which is in full force
11    and effect.     (Fed. R. Civ. P. 28(a)).
12                I am authorized to administer oaths or
13    affirmations pursuant to California Code of Civil
14   Procedure, Section 2093(b) and prior to GB examined, the
15    witness was first duly sworn by me.     (Fed. R. Civ. P.
16    28(a), 30(f)(1)).
17              I am not a relative or employee or attorney or
18    counsel of any of the parties, nor am I a relative or
19    employee of such attorney or counsel, nor am I
20   financially interested in this action.   (Fed. R. Civ. P.
21    28).
22                I am the deposition officer that
23   stenographically recorded the testimony in the foregoing
24   deposition and the foregoing transcript is a true record
25   of the testimony given by the witness.   (Fed. R. Civ. P.



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